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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

       UNITED STATES OF AMERICA

             v.
                                                                  Case No. 1:21-CR-00120-KBJ
       SCOTT KEVIN FAIRLAMB,

            Defendant


                  GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRE-TRIAL
                                 DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of its oral motion for

detention pursuant to 18 U.S.C. §§ 3142(f)(1)(E), (2)(B). The defendant should be detained

pending trial for the reasons stated herein because there is no condition or combination of

conditions that will ensure the safety of the community. 18 U.S.C. § 3142(e)(1).

       I.         Procedural History

       On January 22, 2021, defendant Scott Kevin Fairlamb was arrested in his home state of

New Jersey on an arrest warrant issued from the United States District Court for the District of

Columbia by Magistrate Judge Robin M. Meriweather in connection with a Criminal Complaint

charging the defendant with Certain Acts During Civil Disorder, 18 U.S.C. § 231(a), Assaulting

a Federal Officer, 18 U.S.C. § 111(a)(1), Knowingly Entering or Remaining in any Restricted

Building or Grounds Without Lawful Authority, 18 U.S.C. §§ 1752(a)(1)-(4), Carrying a

Dangerous Weapon, 18 U.S.C. § 1752(b)(1)(A), and Violent Entry and Disorderly Conduct on

Capitol Grounds, 40 U.S.C. § 5104(e)(2).

       On January 22, 2021, at his initial appearance in the District of New Jersey, the

government made a motion to detain the defendant without bond pending trial. U.S. Magistrate

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Judge James B. Clark III denied the government’s motion for detention and released the

defendant. Judge Clark then granted the government’s request for a stay of the defendant’s

release to allow the government to appeal the decision. On that same day, the government filed a

Motion for Emergency Stay and for Review and appeal of a Release Order (ECF No. 7) and a

Motion for Transport Order (ECF No. 8). On that same day, the Chief Judge Howell granted the

government’s Motion for Emergency Stay and for Review (ECF No. 9) and the Motion for

Transport (ECF No. 10).

       On February 12, 2021, a grand jury in the District of Columbia returned an Indictment

charging the defendant with Certain Acts During Civil Disorder in violation of 18 U.S.C.

§ 231(a), Obstruction of an Official Proceeding in violation of 18 U.S.C. §§ 1512(c)(2) and 2,

Assaulting a Federal Officer in violation of 18 U.S.C. § 111(a)(1), Entering or Remaining in any

Restricted Building or Grounds with a Deadly or Dangerous Weapon in violation of 18 U.S.C.

§§ 1752(a)(1) and (b)(1)(A), Disorderly and Disruptive Conduct in a Restricted Building or

Grounds in violation of 18 U.S.C. § 1752(a)(2), Impeding Ingress and Egress in a Restricted

Building or grounds in violation of 18 U.S.C. § 1752(a)(3), Engaging in Physical Violence in a

Restricted Building or Grounds in violation of 18 U.S.C. § 1752(a)(4), Disorderly Conduct in a

Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(D), Impeding Passage Through the

Capitol Grounds and Buildings in violation of 40 U.S.C. § 5104(e)(2)(E), Act of Physical

Violence in the Capitol Grounds or Buildings in violation of 40 U.S.C. § 5104(e)(2)(F), Parading

Demonstrating, or Picketing in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G), and

Stepping, Climbing, Removing, or Injuring Property on the Capitol Grounds in violation of 40

U.S.C. § 5104(d).




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       II.      Applicable Law

       On the government’s motion to review a release order, this Court considers de novo the

Magistrate Judge’s denial of pre-trial detention. As a preliminary matter, the “rules concerning

the admissibility of evidence in criminal trials do not apply to the presentation and consideration

of information at the [detention] hearing.” 18 U.S.C. § 3142(f) (flush language). Specifically, the

presentation of hearsay evidence is permitted. Id.; United States v. Smith, 79 F.3d 1208, 1210

(D.C. Cir. 1996) (holding that the Bail Reform Act allows the government to proceed by

proffer). Moreover, the government is not required to “spell out in precise detail how the

government will prove its case at trial, nor specify exactly what sources it will use.” United

States v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986); United States v. Williams, 798 F. Supp. 34,

36 (D.D.C. 1992). A pretrial detention hearing should not be used as a discovery device and

cross-examination should be limited to the disputed issues, since the detention hearing is not to

be turned into a mini-trial and is not to be used as a subterfuge to obtain discovery. Smith, 79

F.3d at 1210, see also Williams, 798 F. Supp. at 36. It is the government’s burden to prove by

clear and convincing evidence that a defendant is a danger to the community. 18 U.S.C. §

3142(f)(2)(B) (flush language); United States v. Peralta, 849 F.2d 625, 626 (D.C. Cir. 1988).

       There are four factors under Section 3142(g) that the Court shall consider in determining

whether to detain the defendant pending trial: (1) the nature and circumstances of the offense

charged; (2) the weight of the evidence against the defendant; (3) his history and characteristics;

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by his release. See 18 U.S.C. § 3142(g). Based on these factors, there no conditions or

combination of conditions that would assure the safety of the community. See 18 U.S.C.

§ 3142(e)(1).



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       III.     Argument

       a.       Nature and Circumstances of the Offenses Charges

       The first factor, the nature and circumstances of the offenses charged, weighs heavily in

favor of detention.

       The Capitol Attack

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. The U.S. Capitol is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol. On

January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

During the joint session, elected members of the United States House of Representatives and the

United States Senate were meeting in separate chambers of the United States Capitol to certify

the vote count of the Electoral College of the 2020 Presidential Election, which had taken place

on November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside. At such time, the



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certification proceedings still underway and the exterior doors and windows of the U.S. Capitol

were locked or otherwise secured. Members of the U.S. Capitol Police attempted to maintain

order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m., individuals

in the crowd forced entry into the U.S. Capitol, including by breaking windows and by assaulting

members of the U.S. Capitol Police, as others in the crowd encouraged and assisted those acts.

         Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

         During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol

building without authority to be there.

                            Scott Fairlamb’s Role in the Capitol Attack

         Scott Fairlamb, a former MMA fighter,1 participated in the January 6 assault on the

Capitol. His crimes are documented through a series of videos provided to the FBI by various

concerned citizens, body worn camera from the Metropolitan Police Department, and

surveillance footage from inside of the Capitol.




1
    See https://www.sherdog.com/fighter/Scott-Fairlamb-70989
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       A concerned citizen (“C-3”)2 submitted a video to the FBI (hereinafter “JaydenX video”),

which depicted the defendant (circled in red below) standing on the scaffolding erected on

Capitol grounds. The scaffolding was located at the western face of the Capitol building. The

following is a still image from the JadyenX video. Fairlamb is circled in red.




                                             Exhibit 1

       Another concerned citizen (“C-5”) submitted a video to the FBI, an Instagram post from

the defendant’s Instagram account, and identified Fairlamb as the man in the video. This video is

submitted to the Court as Exhibit 2. In Exhibit 2, Fairlamb can be seen on the same scaffolding

at the capitol and heard screaming “We ain’t fuckin’ leaving either.” The following are still

images from Exhibit 2:




2
 For consistency, the government has maintained naming conventions used in previous
pleadings and affidavits related to the defendant.
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       Exhibit 3 (Still from Exhibit 2)                 Exhibit 4 (Still from Exhibit 2)

       Several minutes later, the JaydenX video shows a horde of rioters pressing past police

attempting to hold the line on the West Capitol Front. The JaydenX video shows the rioters

overwhelming the outnumbered police and successfully breaking through metal barricades as

shown in the following video still from the JaydenX video:




                                           Exhibit 5

                                               7
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       Approximately 18 seconds later, after the skirmish line was breached, the JaydenX video

depicts the defendant picking up a baton and putting it under his arm. The following are stills

from the JaydenX video:




                        Exhibit 6                                         Exhibit 7

       Another concerned citizen (“C-2”) submitted a video from the defendant’s Facebook

account. This video is submitted to the Court as Exhibit 8. In this video, the defendant can be

seen carrying a collapsible baton outside of the Capitol and yelling: “What Patriots do? We

fuckin’ disarm them and then we storm the fucking Capitol.” C-2 identified the man in Exhibit 8

as Scott Fairlamb from New Jersey. In the video, the baton that the defendant can be seen

picking up in the JaydenX video is clearly visible.3 The following is a still from Exhibit 8:




3
 Although Fairlamb seems to imply in his Facebook video, Exhibit 8, that he disarmed a police
officer, video footage from Video 3 suggests that another rioter in front of Fairlamb also
possessed a collapsible baton. Accordingly, it is possible that Fairlamb picked up a baton that
was discarded by another rioter rather than personally disarming a police officer.
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                                             Exhibit 9

       Surveillance video from inside of the Capitol Building shows rioters smashing through

windows and entering through windows in the Capitol. Those rioters then kick open a locked

door to the Capitol, allowing in a stream of rioters. At 2:13:55 PM, the defendant can be seen

entering the Capitol with the baton in hand. The following is a still from Capitol surveillance

video, with the defendant circled in red:




                                            Exhibit 10

                                                 9
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       Several minutes after the defendant is seen picking up the baton, the JaydenX video

depicts the defendant (circled in red below) exiting the Capitol building and coughing after

chemical agents were deployed inside. The following is a still image from JaydenX video:




                                            Exhibit 11

       Approximately 30 minutes later, the defendant was captured on video punching a

Metropolitan Police Department (“MPD”) officer in the face after following and harassing a line

of MPD officers attempting to make their way through the horde of rioters. A concerned citizen

(“C-1”) submitted a video to the FBI, which captured the defendant shoving and pushing MPD

Officer Z.B. on the West Front of the Capitol.4 A portion of this video will be submitted to the

Court as Exhibit 12.5 This video shows the defendant following a line of MPD Officers and

appearing to aggressively scream at them. The defendant can be heard screaming “Are you an




4
  The full high-resolution video is available at: https://capitol-hill-riots.s3.us-east-
1.wasabisys.com/Miscellaneous%20-%20Other%20people%27s%20archives/1-6-
2021%20archive%20akansomi/Cop%20Vs%20The%20American%20People%21%21.mp4. The
defendant can be seen from 3:25 to 4:00 in the full video.
5
  Exhibit 12 has been compressed to reduce the size of the file. The government can submit a
high-resolution version of Exhibit 12 in hard copy at the request of the Court. The high-
resolution and full-length version of the video is also available at the hyperlink in footnote 4.
                                                10
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American? Act like a fucking one! . . . You guys have no idea what the fuck you’re doing!” The

following is a still from Exhibit 12:




                                 Exhibit 13 (Still from Exhibit 12)

       The defendant can be seen and heard screaming at the line of MPD officers and inserting

himself in the line, in front of Officer Z.B. as the defendant screams at the MPD Officer in front

of him. As Officer Z.B. attempts to catch up to the chain of MPD Officers, broken up by the

defendant, he places his hands on the defendant in an attempt to move him out of the way. The

defendant responds by shoving Officer Z.B. so hard that he falls into a line of watching rioters.

The defendant sticks his finger in Officer Z.B.’s face, and when Officer Z.B. pushes the

defendant’s hand aside, the defendant punches Officer Z.B. in the face. The violence and speed

of the assault is captured in Exhibit 12.

       Body worn camera of another officer captures the defendant following the line of MPD

officers while aggressively screaming “you have no idea what the fuck you’re doing[.]” That

video will be submitted to the Court as Exhibit 14.




                                                11
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       At :27s in Exhibit 12, the defendant can be seen shoving Officer Z.B.:




                             Exhibit 15 (Video still from Exhibit 12)

       At :31s in Exhibit 12, the defendant punches Officer Z.B. in the head.




                               Exhibit 16 (Video Still of Exhibit 12)

       A clip from Officer Z.B.’s Body Worn Camera (BWC) footage captures the assault from

Officer Z.B.’s perspective and depicts the defendant, cutting between the MPD Officers and in

front of Officer Z.B prior to the assault. The following is a still from Officer Z.B.’s BWC:




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                       Exhibit 17 (Still from Officer Z.B.’s body worn camera)

          The nature and circumstances of these crimes weigh heavily towards detaining this

defendant. This defendant came to the Capitol on January 6, unlawfully scaled the scaffolding on

the West Front of the Capitol, joined the rioters who physically rushed and overwhelmed out-

numbered officers attempting to hold the metal barriers at the skirmish line, obtained a weapon –

a collapsible police baton – and was then one of the very first rioters to breach the Capitol after

fellow rioters smashed through the windows using riot shields and kicked out a locked door.

After exiting the Capitol, this defendant was videotaped harassing a line of dramatically out-

numbered police officers, shouting in their faces and blocking their progress through the crowd

of hundreds of rioters. When the defendant cut off Officer Z.B. from the line of MPD officers –

who can be seen attempting to traverse the enormous crowd by holding onto each other’s jackets

– this defendant violently shoved him and punched him in the face. As a former MMA fighter,

the defendant was well aware of the injury he could have inflicted on Officer Z.B.6 The

defendant’s actions show an absolute disregard for the rule of law coupled with a willingness to



6
    Officer Z.B. reported to the FBI that he did not sustain an injury or seek medical attention.
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engage in violence. His actions and words on that day all indicate a specific intent to obstruct a

congressional proceeding through fear, intimidation, and violence, including violence against

uniformed police officers. By his own words, he intended to “disarm them and then [] storm the

fucking Capitol!” See Exhibit 8. Fairlamb had no intention of leaving, as evinced by his screams

of “We ain’t fucking leaving either! We ain’t fucking leaving!” See Exhibit 2. His actions show a

capacity and wanton willingness to violate the law, to engage in acts of disorder and violence,

and to harm others, including uniformed law enforcement. See Exhibits 12, 14. These crimes

were committed in full view of police officers – and indeed against a police officer – further

demonstrating his manifest disregard for the rule of law.

         The seriousness of this offense cannot be overstated. The rioters who first breached the

Western front, including the defendant, came within seconds of encountering fleeing Senators.

Indeed, capitol surveillance footage shows rioters breaching the Capitol through the window at

2:13:03 PM. Publicly available video shows Officer Goodman passing Senator Romney at

2:13:47, 44 seconds later, and waving Senator Romney back into the Senate chambers.7




                                             Exhibit 18

7
    Available at https://www.youtube.com/watch?v=HWz84tp_-Fo.
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       The defendant is then seen on surveillance footage unlawfully entering the Capitol with

the baton at 2:13:55 PM, a mere eight seconds after Officer Goodman waved Senator Romney

back to safety.




                                            Exhibit 10

       As the video evidence amply demonstrates, the defendant caused chaos and sowed fear

with his actions on January 6, with the intent to interfere with and obstruct the Congressional

certification of the Electoral College and a wanton willingness to harm those who stood in his

way.

                            Facebook and Instagram Search Warrant

       The United States obtained search warrants for Fairlamb’s Facebook and Instagram

account and is in the process of reviewing the material. A preliminary review of the material

reveals that Fairlamb appears to subscribe to the QAnon conspiracy theory, that he traveled to

the Capitol prepared to commit violence, and that he has no remorse to the events that occurred.


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       On January 6, 2021 at 11:43 UTC, the defendant posted to Facebook, “How far are you

willing to go to defend our Constitution? Made the trip solo, looking to meet my fellow Patriots

who share the same beliefs. Put up or shut up.” (emphasis added). Later that day, at 15:00 UTC,

he posted to Facebook a picture of his fist with the caption “Any Aqueefers send location,” an

apparent reference to Antifa and the defendant’s readiness to engage in violence. On January 8,

2021, in an apparent reference to theft of Speaker Pelosi’s laptop on January 6, boasted in an

Instagram message, “Wiener Biden Pelosi all laptops in our possession[.]”

       Notably, the United States has been unable to locate either Exhibit 2 (Instagram

video) or Exhibit 8 (Facebook video with baton) in the Facebook or Instagram search

warrant returns. This is consistent with citizen tips submitted to the FBI that stated that

the inculpatory videos had since been deleted from Facebook.8

       b.      Weight of the Evidence Against the Defendant

       The second factor weighs very heavily in favor of detention. The evidence against the

defendant is clear, cumulative, and incontrovertible. The defendant is documented by numerous

videos occupying the scaffolding on the Capitol Grounds, crossing the skirmish line with a horde




8
 The Defendant did not delete a January 7, 2021 post, in which he blamed the breach of the
Capitol on “Antifa” and falsely stated that he left the moment the doors were breached, posting:

       “What started out yesterday as an incredible showing of support and patriotism
       ended with complete and utter disrespect/disappointment. At the snap of a finger
       NON patriots (Antifa dressed as Trump supporters) literally broke down the doors
       to the Capitol building after violently clashing with police. Not myself nor anyone
       I know sees this to be of any value to our cause or ideals. While very passionate
       about my beliefs I know right from wrong and can identify who and what we are
       up against, it was and is still not the men and women that were there to protect our
       Capitol. It’s the elected officials we put inside. I appreciate everyone reaching out
       concerned for my safety. I left the moment I saw the doors being breached and
       never looked back.”


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of rioters who physically pushed through the gates and police officers attempting to hold the line,

obtaining a baton, and entering the Capitol mere moments after it was first breached by rioters

using shields to shatter windows in order to then kick out the locked door to allow additional

rioters – including the defendant – to unlawfully enter the Capitol. After storming the Capitol

Building – as he had promised to do – Fairlamb was captured on video punching a Metropolitan

Police Officer attempting to make his way through the horde of rioters. This attack is also

captured on the Officer’s body worn camera. When the Defendant was arrested, the FBI seized

the baton that the Defendant obtained during his participation in the January 6, 2021 riot. The

Defendant’s own videos, published on Facebook and Instagram, are compelling evidence of his

intent on January 6 when he crossed the skirmish line, stormed the capitol, and assaulted an

MPD Officer. See Exhibits 1-17. This factor weighs heavily in favor of detention.

       c.       History and Characteristics

       The third factor also weighs in favor weight in favor of detention. The defendant has a

significant criminal history of arrest and conviction.

               In 2002, the defendant was charged with Aggravated Assault by Attempting to
                Cause Serious Bodily Injury. The case was “no billed.”

               In 2006, the defendant was charged with and pleaded guilty to unlawful
                possession of a handgun.

               In December 2008, the defendant was charged with aggravated assault and
                robbery. The case was dismissed. In this case, it was alleged that the defendant
                punched a victim in the left eye during the theft of a home entertainment system.

               On April 3, 2009, the defendant was charged with and pleaded guilty to
                aggravated assault in Passaic County, New Jersey. In that case, the police were
                called after a bar fight erupted at a bar where Fairlamb served as a bouncer. A
                complainant stated that he was punched several times in the face by the bouncer,
                Scott Fairlamb.

               In April 2018, the defendant was charged with Aggravated Assault. In that case,
                the complainant told police that he was smoking outside of a bar when he was

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               punched by an unknown male in the throat and then struck several more times
               while on the ground by Mr. Fairlamb and at least two additional unknown males.
               The complainant stated he suffered several broken ribs and provided
               documentation of rib injuries. The assault was recorded on the bar’s surveillance
               video and the complainant later identified Mr. Fairlamb out of a line-up. Mr.
               Fairlamb pleaded guilty to simple assault.

       The Court should also consider the defendant’s behavior and affect during the January 6

attack on the Capitol. In the defendant’s own videos, posted to Facebook and Instagram, the

defendant can be seen screaming at the top of his lungs, both enraged and out of control. See

Exhibits 2, 8. The video of his assault of the MPD Officer demonstrates a hair-trigger temper,

lack of control, and violent impulses. See Exhibit 12.

       The government’s preliminary review of Fairlamb’s Instagram and Facebook accounts

reveal that he subscribes to QAnon conspiracy theory and that he promoted the theory that

former President Trump would become the first President of the new Republic beginning March

4. On January 9, 2021, in response to this assertion, another Instagram user asked Fairlamb, “But

what will happen with all these unhinged liberals if this happens[?]” Fairlamb replied, “War Vs

patriots” and “They don’t want that lol[.]” Fairlamb then stated “It’s go time” and “Q said this

word for word[.]” On January 15, 2021, the day the FBI attempted to interview Fairlamb, he

messaged “Came here” to the same Instagram user because “People reported seeing me at the

Capitol[,]” an apparent reference to the FBI’s attempt to interview Fairlamb. Fairlamb told the

user, “All good[,]” and “I’d go again[.]”

       Fairlamb’s seized social media accounts reveal that he has no remorse for his actions on

January 6, he is preparing for “War Vs patriots,” he believes it is “go time,” and that he would

“go again” to the Capitol.

       In addition to his criminal history and recent social media statements, the defendant has a

history of violent rhetoric. On January 10, 2021, the FBI received an anonymous tip stating:

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“Scott Fairlamb has a history of violent threats and did participate in Stop the Steal Rally.

Unfortunately he deleted all social media accounts after riots.” The tipster then provided

Fairlamb’s home address and the following Instagram post from Fairlamb’s Instagram account,

@FairlambFit, directed at Congresswoman Cori Bush. The post states “@coribush You’re full of

shit, shoulda lit your ass up” and seemingly promotes other violent and threatening posts directed

at Congresswoman Bush, including “I wish someone would put a knee on your neck for

spreading lies. #whitelivesmatter,” “your words are going to bring you a harvest very soon,” and

“Lock n load America. When they defund they [sic] police you shoot back.”




                                             Exhibit 19

       Finally, Fairlamb has a history of defying lawful orders. In May 2020, he announced that

he would open his gym, Fairlamb Fit, in defiance of the New Jersey governor’s stay-at-home

orders.9 Accordingly, the Court should have no confidence that he would comply with any of this

Court’s orders if released.


9
 NJ Business Owners Say Risk Of Reopening Without Governor’s OK Outweighs Consequences
Of Staying Closed, CBSN New York (May 15, 2020),
https://newyork.cbslocal.com/2020/05/15/new-jersey-businesses-reopening-early/.
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       Fairlamb’s history and characteristics as shown by history of arrests and convictions,

violent rhetoric on Instagram directed towards a United States Congresswoman, discernable

affect during the instant offenses, recent statements on social media clearly stating that he would

“go again” and that there will be “war v. patriots,” and history of defying lawful orders weighs

heavily towards detention in this matter.

       d.      Danger to the Community

       The fourth factor also weighs in favor of detention. The defendant’s behavior on January

6 and his history of aggravated assaults demonstrate that he has no regard for the law or the

safety of others. The video documentation of his crimes demonstrate that the defendant is violent

and unpredictable. The defendant’s decision to commit these offenses in full view of uniformed

police officers demonstrates his dangerousness. Multiple branches of national and local law

enforcement remain on high alert in reference to potential threats to law enforcement,

government officials, and government property following the attack on the U.S. Capitol. Indeed,

nearly 5,000 National Guard troops were ordered to remain in Washington, D.C. through mid-

March.10 The presence of scores of uniformed police officers was not sufficient to prevent the

defendant’s crimes on January 6 and the conditions preceding those crimes still exist, and so the

defendant remains a danger.

       The government notes that at least one concerned citizen who submitted recordings from

the Defendant’s social media – recordings which have since been deleted – requested to remain

anonymous because he/she “deeply and strongly fear[ed] retribution against myself, my

[company], my family and the like.”



10
   Zachary Cohen and Ellie Kaufman, Nearly 5,000 National Guard troops to remain in
Washington through mid-March due to concerns about QAnon chatter, CNN, (Feb. 17, 2021),
https://www.cnn.com/2021/02/17/politics/national-guard-qanon-concerns/index.html.
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       Finally, the defendant may have access to weapons. The defendant posted the following

photo to Facebook on January 1, 2021 with the caption “It’s the Peaky Fookin Blinders! Happy

New Year!” The photo appears to depict the defendant with two guns. But, when the FBI

executed a search warrant on the Defendant’s residence, they found only ammunition shells.11




                                           Exhibit 19

       The defendant’s own statements on social media make clear that he is preparing for “War

Vs patriots,” that he considers this to be “go time[,]” and most importantly, he would “go again”



11
  The FBI attempted to interview the Defendant on January 14, 2021. The FBI arrested the
defendant and executed a search warrant on his residence on January 22, 2021. Accordingly, the
defendant had eight days to remove any weapons after the FBI’s attempted interview and prior to
the execution of the arrest warrant.
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to the Capitol. At least one witness fears retribution for providing information regarding the

defendant’s crimes. Further, the defendant may have removed guns from his home prior to the

execution of his arrest warrant. Accordingly, the defendant remains a clear and present danger to

the community and so this fourth factor also weighs heavily in favor of detention.

       IV.     Conclusion

       For the foregoing reasons, the government respectfully moves this Court to detain the

defendant pending trial because there is no condition or combination of conditions which will

reasonably assure the safety of any other person and the community.

                                                     Respectfully submitted,

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